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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


REC MARINE LOGISTICS, LLC                                        CIVIL ACTION

VERSUS                                                             No. 19-11149

DEQUINCY R. RICHARD, ET AL.                                          SECTION I

                                      ORDER

         Considering the motion 1 by counsel for REC Marine Logistics, LLC for

“reconsideration of and elimination of sanctions,”

         IT IS ORDERED that the motion is DENIED.

         New Orleans, Louisiana, February 14, 2020.



                                       _______________________________________
                                               LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 74.
